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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA
v. CRIMINAL NO. 24-cr-00223 (CKK)
KIRK PERRY,

Defendant.

STATEMENT OF OFFENSE IN SUPPORT OF GUILTY PLEA

Defendant KIRK PERRY (“PERRY”) agrees to admit guilt and enter a plea of guilty to
Count One of the Indictment, which charges PERRY with Conspiracy to Commit Money,
Property, and Honest Services Wire Fraud, in violation of Title 18, United States Code, Sections
1349, 1343, 1346. Pursuant to Federal Rule of Criminal Procedure 11, the Government and
PERRY, with concurrence of his attorney, agree and stipulate that the Government would prove
the following facts at trial beyond a reasonable doubt:

1, At all relevant times, PERRY was a Supervisory Equal Opportunity Specialist who
served as Program Director for the Employment Adjudication Division (“EAD”) of the Office of
the Assistant Secretary for Civil Rights (““OASCR”) within the United States Department of
Agriculture (“USDA”) located in the District of Columbia.

A PERRY’s duties included monitoring the performance of Company 1 and
Company 2, which were contracted by OASCR to hire contract employees to perform Equal
Employment Opportunity (“EEO”) services on its behalf. PERRY also exercised daily oversight

of the contract employees and verified contract employee timesheets.
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3. PERRY was Defendant JAMAREA GRANT’s (“GRANT”) uncle. PERRY and
GRANT both lived in the Cleveland, Ohio metropolitan area.

4. From August 2015 through March 2018, GRANT was employed as an Equal
Opportunity Assistant (‘EOA”) for Company 1 under the contract with OASCR. When
Company 2 replaced Company 1 as the contract vendor in March 2018, GRANT’s employment
with Company 1 rolled over to Company 2. From March 2018 through November 2022, GRANT
was employed as an EOA for Company 2 under the OASCR contract.

5. PERRY referred GRANT to Company | and completed GRANT’s application and
onboarding paperwork. Prior to being hired by Company 1, GRANT had no background,
education, or experience in EEO-related matters.

6. As an EOA, GRANT was hired to provide equal opportunity review and audit
services to OASCR, including reviewing, editing, and drafting reports pertaining to EEO
complaints filed against USDA agencies and offices.

7, The Company | and Company 2 contracts required all contract employees to work
onsite at USDA’s offices located in the District of Columbia. GRANT never accessed any USDA
building in the District of Columbia, and never performed any work at a USDA worksite. Instead,
GRANT worked remotely from the Cleveland area.

8. The Company | and Company 2 contracts required all work to be performed using
government-provided equipment and accounts. GRANT never received any office equipment
from OASCR, Company 1, or Company 2, never had a USDA or OASCR email address, and never

had a user identification to access any government system.
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9. From August 2015 through November 2022, while working as an EOA for
Company 1 and Company 2, GRANT reported exclusively to PERRY and received his work
assignments directly from PERRY.

10. Some weeks PERRY did not send GRANT any work assignments at all. Other
weeks PERRY sent GRANT only a small number of work assignments.

11. Many of the work assignments that PERRY sent to GRANT were reports that had
already been reviewed by other EOAs and/or were already in final form and did not require further
review. PERRY also sometimes sent the same reports to GRANT multiple times.

12, GRANT was paid to work at least 40 hours per week, and sometimes in excess of
40 hours per week, but he only worked a fraction of the hours he was paid for during his
employment with Company 1 and Company 2.

13. GRANT was supposed to submit weekly timesheets to Company 1 and Company 2
that reported his hours worked and/or number of reports reviewed.

14, Instead of submitting his own timesheets, GRANT allowed PERRY to submit
GRANT?’s timesheets. PERRY falsified the number of hours GRANT worked and/or the number
of reports GRANT reviewed, including by falsely reporting that GRANT worked in excess of 40
hours per week and worked on weekends and holidays.

15. As a result, Company 1 and Company 2 submitted invoices to OASCR in
Washington, DC that included hours that GRANT had not actually worked, and/or reports that he
had not actually reviewed.

16. | PERRY then approved those invoices despite knowing that he had falsified the

number of hours GRANT had worked.
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17, Once each invoice was approved, payment to Company 1 and Company 2 was
processed by the U.S. Treasury Invoice Processing Platform.

18. Company 1 and Company 2 then paid GRANT according to the hours worked
and/or number of reports reviewed that were submitted on his timesheets, using money the
contracting firms received from the government.

19. From August 2015 through March 2018, Company 1 paid GRANT approximately
$195,480 under its contract with OASCR.

20. From March 2018 through November 2022, Company 2 paid GRANT
approximately $203,839 under its contract with OASCR.

21. The salary paid by Company 1 and Company 2 was direct-deposited from
Company 1 in Maryland, and from Company 2 in Virginia, through interstate wire transmissions
into an online bank account in GRANT’s name.

22. PERRY set up the bank account in GRANT’s name into which GRANT’s salary
was direct-deposited. PERRY controlled online access to the account and received the account
statements. GRANT received and used a debit card with which he made cash withdrawals from
the account in Ohio, but lacked the ability to make other transactions.

23. From September 2015 through March 2020, PERRY transferred approximately
$124,444 from GRANT’s bank account to a PayPal account under PERRY’s control.

24. PERRY also arranged for the employment by Company 1 of Camille Perry, Alicia
Thompson, and Kayla Jackson (“Jackson”). Like GRANT, PERRY supervised those individuals
and they only worked a fraction of the hours they were paid for during their employment with

Company 1.
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25. From January 2015 to July 2015, PERRY transferred approximately $17,125 from
Jackson’s bank account to a PayPal account under PERRY’s control.
Respectfully Submitted,

EDWARD R. MARTIN, JR.
UNITED STATES ATTORNEY

/s/ Brian P. Kelly
BRIAN P. KELLY
Assistant United States Attorney
D.C. Bar No. 983689

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DEFENDANT'S ACCEPTANCE

The preceding statement is a summary, made for the purpose of providing the Court with
a factual basis for my guilty plea to the charge against me. It does not include all of the facts
known to me regarding this offense. I make this statement knowingly and voluntarily and because
I am, in fact, guilty of the crimes charged. No threats have been made to me nor am I under the
influence of anything that could impede my ability to understand this Statement of Offense fully.

I have read every word of this Statement of the Offense. Pursuant to Federal Rule of
Criminal Procedure 11, after consulting with my attorney, I agree and stipulate to this Statement
of the Offense, and declare under penalty of perjury that it is true and correct.

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Date: 04/07/2025 /s/ Kirk Perry AM ton

Kirk Perry
Defendant

ATTORNEY’S ACKNOWLEDGMENT

[have read this Statement of Offense and reviewed it with my client fully. I concur in my
client’s desire to adopt and stipulate to this Statement of the Offense as true and accurate.

04/07/2025 hla

Brandi Harden
Counsel for Defendant

Date

